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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MONICA ABBOUD, individually and               §
on behalf of all others similarly situated,   §
                                              §
       Plaintiff,                             §
                                              §         Case No. 3:19-cv-120-X
v.                                            §
                                              §
AGENTRA, LLC,                                 §
                                              §
       Defendant.                             §
                                  NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Laura E. Brandt with the law firm of Platt Cheema

Richmond PLLC hereby enters her appearance as additional counsel for Defendant Agentra,

LLC, in the above-captioned action. Ms. Brandt respectfully requests that all pleadings,

discovery, orders, notices, correspondence, and other material be served upon counsel at the

address referenced below:

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      Dated: October 18, 2019                 Respectfully submitted,


                                              /s/ Laura E. Brandt
                                              WILLIAM S. RICHMOND
                                              Texas Bar. No 24066800
                                              LAURA E. BRANDT
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                                              lbrandt@pcrfirm.com

                                              COUNSEL FOR DEFENDANT
                                              AGENTRA, LLC


                            CERTIFICATE OF SERVICE

       The undersigned counsel for Defendant Agentra, LLC does hereby certify that this
pleading was served on counsel of record on October 18, 2019 by electronic filing.

                                              /s/ Laura E. Brandt
                                              LAURA E. BRANDT




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